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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION


  DONNA CURLING, ET AL.,
  Plaintiffs,
                                                  Civil Action No. 1:17-CV-2989-AT
  v.

  BRIAN KEMP, ET AL.,
  Defendants.


     PROPOSED ORDER GRANTING PLAINTIFFS’ MOTION FOR
    PRELIMINARY INJUNCTION ON PAPER POLLBOOK BACKUPS

       This matter is before the Court on the Motion for Preliminary Injunction of

Plaintiffs Coalition for Good Governance, William Digges III, Laura Digges,

Megan Missett, and Ricardo Davis (the “Coalition Plaintiffs”), relating to paper

pollbook backups. This relief was originally sought in the Coalition Plaintiffs’

October 23, 2019 Motion for Preliminary Injunction (Doc. 640), which this Court

dismissed without prejudice on August 7, 2020 (Doc. 768).

       Upon considering the motion and supporting authorities, the response from

the Defendants, and the evidence and pleadings of record, the Court finds that

Plaintiffs are likely to succeed on the merits of their claims, that they will be

irreparably harmed if this motion is not granted, that the balance of equities tip in
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Plaintiffs’ favor, and that an injunction is in the public interest. See Winter v. Nat.

Res. Def. Council, Inc., 555 U.S. 7, 20 (2008).

         The Court accordingly GRANTS the motion and issues the relief set forth

below.

      UNTIL FURTHER ORDER OF THIS COURT:

      Effective immediately, the Secretary shall direct every county election

superintendent (1) to provide at each polling place at least one paper back-up of the

pollbook for use on Election Day, which paper back-up shall be updated after the

close of absentee in-person voting (early voting); (2) to use the paper back-up of

the pollbook in the polling place to attempt to adjudicate voter eligibility and

precinct assignment; (3) to allow voters who are shown to be eligible electors on

the paper pollbook backups to cast an emergency ballot that is not to be treated as a

provisional ballot; and (4) to take every reasonable measure to ensure that county

election officials and pollworkers are trained as to how to generate and use paper

pollbook backups and emergency ballots in conformity with this Order.

      SO ORDERED this ___ day of _____, _______.

                                        ________________________
                                        U.S. District Court Judge Amy Totenberg




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